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11
                          UNITED STATES DISTRICT COURT
12                       CENTRAL DISTRICT OF CALIFORNIA
13                                              Case No.: 5:21-cv-01547
14    ERICA LATHROP,
                                                COMPLAINT FOR DAMAGES
15                             Plaintiff,
                                                1. Childhood Sexual Assault
16          v.
                                                2. Common-Law Negligence
17    WATCHTOWER BIBLE AND
      TRACT SOCIETY OF NEW YORK,                3. Negligent Appointment,
18    INC.; WATCHTOWER                          Retention, and Supervision;
      ENTERPRISES; WATCHTOWER
19    FOUNDATION, INC.;                         4. Gross Negligence/Willful
      WATCHTOWER ASSOCIATES,                    Misconduct
20    LTD; KINGDOM SUPPORT
      SERVICES, INC.; RELIGIOUS                 5. Negligence Per Se and Common-
21    ORDER OF JEHOVAH’S                        Law Negligence - Failure to Report
      WITNESSES; CHRISTIAN                      Suspected Child Abuse
22    CONGREGATION OF JEHOVAH’S
      WITNESSES; THE GOVERNING                  DEMAND FOR JURY TRIAL
23    BODY OF JEHOVAH’S WITNESSES;
      OTHELLO NORTH SPANISH
24    CONGREGATION OF JEHOVAH’S
      WITNESSES; LAS PALMAS
25    CONGREGATION OF JEHOVAH’S
      WITNESSES; MANUEL BELIZ; and
26    REFUGIO VALENZUELA,

27                             Defendants.

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 1          Plaintiff Erica Lathrop states her Complaint against the “Church
 2    Defendants”—Defendants Watchtower Bible and Tracy Society, Inc.;Watchtower
 3    Enterprises; Watchtower Foundation, Inc.; Watchtower Associates, Ltd; Kingdom
 4    Support Services, Inc.; Religious Order of Jehovah’s Witnesses; Christian
 5    Congregation of Jehovah’s Witnesses; the Governing Body of Jehovah’s Witnesses;
 6    Othello North Spanish Congregation of Jehovah’s Witnesses; and Las Palmas
 7    Congregation of Jehovah’s Witnesses—and her abusers, Defendants Manuel Beliz
 8    and Refugio Valenzuela, based upon personal knowledge and information and belief:
 9                                     INTRODUCTION
10          1.     From the age of four to sixteen, Erica Lathrop was sexually assaulted by
11    elders of the religious organization known as Jehovah’s Witnesses: Manuel Beliz,
12    who was then a ministerial servant and later an elder of the Othello North Spanish
13    Congregation of Jehovah’s Witnesses in Washington state, and Refugio Valenzeula,
14    an elder of Las Palmas Congregation of Jehovah’s Witnesses in California. Both
15    defendants Beliz and Valenzuela touched Ms. Lathrop below and above the waist,
16    over and under her clothes, with digital penetration of her vagina.
17          2.     Defendants’ sexual assaults and negligence occurred in both
18    Washington state and California.
19          3.     Ms. Lathrop originally filed her claims under Washington state law in
20    the U.S. District Court for the Eastern District of Washington, invoking federal-
21    question jurisdiction when diversity jurisdiction would be proper. ECF No. 19 at 1–,
22    Rodriguez v. Watchtower Bible and Tract Society of New York, Inc., Case No. 2:02-
23    cv-00030-EFS (E.D. Wash. May 20, 2002).
24          4.     The court entered judgment dismissing the complaint for lack of
25    subjection matter jurisdiction, but the dismissal was “without prejudice to refiling of
26    a complaint with proper jurisdiction.” Id. at 4; ECF No. 20 at 1, Rodriguez v.
27    Watchtower Bible and Tract Society of New York, Inc., Case No. 2:02-cv-00030-EFS
28    (E.D. Wash. May 20, 2002).
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 1           5.     Ms. Lathrop then refiled her claims under Washington state law;
 2    Watchtower Bible and Tract Society, Inc. and the Othello Spanish Congregation of
 3    Jehovah’s Witnesses (together, the “Church”) moved for summary judgment, and
 4    ultimately, the court “granted the Church’s motion” because “the suit was beyond the
 5    statute of limitations” without “reach[ing] or express[ing] any opinion on the other
 6    defenses of the Church.” ECF No. 66 at 10, Rodriguez v. Watchtower Bible and Tract
 7    Society of New York, Inc., Case No. 2:02-cv-00190-EFS (E.D. Wash. Oct. 3, 2003).
 8    Accordingly, the court never reached the merits, and the Church relied on
 9    Washington state law. Id. at 7–8.
10           6.     Ms. Lathrop’s claims under California state law “ha[ve] not been
11    litigated to finality” or “would otherwise be barred as of January 1, 2020.” Cal. Code
12    Civ. Proc. § 340.1(q). Nor has any federal court reached a conclusion on the merits
13    of her claims. Thus, her claims are timely because there is no “claim for damages”
14    under California law “that has not been litigated to finality and that would otherwise
15    be barred as of January 1, 2020,” and so her “claims may be commenced within three
16    years of January 1, 2020.” See Cal. Code Civ. Proc. § 340.1(q) (emphasis added).
17                                        THE PARTIES
18           7.     Plaintiff Erica Lathrop is a resident of Chino Hills, California. She and
19    her parents were part of the Jehovah’s Witnesses organization
20           8.     Defendant Watchtower Bible and Tract Society, In. is located at 25
21    Columbia Heights, Brooklyn, New York 11201. Upon information and belief, the
22    Watchtower supervised and exercised control over Ms. Lathrop’s abusers—
23    Defendants      Beliz    and    Valenzuela.     DefendantWatchtower    also   finalized
24    appointments of elders, supervised them, and formulated organizational policies
25    giving rise to its liability.
26           9.     Upon information and belief, DefendantWatchtower regulates all
27    aspects of participation in Jehovah’s Witness events, and members submit to the
28    organization’s control in all aspects of their lives. Personal grooming, appearance,
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 1    and dress are regulated. Use of alcohol, tobacco or drugs as well as illegal sexual
 2    conduct, such as childhood sexual abuse, and legal sexual conduct are subject to
 3    regulation by the congregation. The organization also implements the practice of
 4    shunning, which involves isolating and not interacting with members that have left
 5    the church or not followed the rules of the elders.
 6          10.    Upon information and belief, Defendant Watchtower encourages to
 7    bring problems to elders to be resolved rather than to seek intervention from outside
 8    organizations. When a congregant commits an act of wrongdoing, such as sexual
 9    abuse of a child, or engagement of sex with a minor, that matter must be brought to
10    an elder to be resolved. If there are not two witnesses to the event, and the accused
11    has not confessed, the accused is determined to be innocent and treated as such, and
12    no corrective action is taken by the congregation. There is no requirement by the
13    congregation for the abuse to be reported to authorities and investigated properly and
14    no punitive actions are taken. Furthermore, illegal sex acts such as the sexual abuse
15    of children often take place in private without witnesses. As such, this policy
16    functions to protect child sex abusers.
17          11.    Defendant Watchtower Enterprises is a corporation organized and
18    existing under the laws of the State of New York.
19          12.    Defendant Watchtower Foundation, Inc. is a corporation organized and
20    existing under the laws of the State of New York.
21          13.    Defendant Watchtower Associates, Ltd. is a corporation organized and
22    existing under the laws of the State of New York.
23          14.    Defendant Kingdom Support Services, Inc. is a corporation organized
24    andexisting under the laws of the State of New York.
25          15.    Defendant Religious Order of Jehovah’s Witness SES is a corporation
26    organized and existing under the laws of the State of New York.
27          16.    Upon information and belief, at all times since April 2001, Defendant
28    Christian Congregation of Jehovah’s Witnesses (“CCJW”) was and is a not-for-profit
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 1    religious corporation organized and existing under and by virtue of the laws of the
 2    State of New York. Effective April 2001, CCJW assumed from the Watchtower the
 3    obligation to operate the Service Department of the United States Branch of
 4    Jehovah’s Witnesses and became the Watchtower’s successor in interest.
 5          17.    Upon information and belief, Defendant The Governing Body of
 6    Jehovah’s Witnesses is and was a business entity of unknown legal status conducting
 7    business in the State of New York. At the time of the sexual abuse alleged here, the
 8    Governing Body’s principal headquarters was located in Brooklyn, New York, which
 9    is in Kings County. At the time of the filing of this Verified Complaint, the
10    Governing Body’s principal headquarters is located in Warwick, New York, which
11    is located in Orange County. During the dates of the sexual abuse of Ms. Lathrop,
12    the Governing Body established the sexual-abuse policies implemented by the
13    Watchtower and all congregations of Jehovah’s Witnesses in the United States. They
14    established the policies for appointing and supervising elders and ministerial servants
15    within the Jehovah’s Witness organization, participated in the appointment of elders
16    and ministerial servants, and exercised supervision and control over Defendants Beliz
17    and Valenzuela.
18          18.    Upon information and belief, the structure of the Jehovah’s Witnesses
19    organization is hierarchical. At all times relevant here, the head of the Jehovah’s
20    Witnesses organization was Defendant Governing Body, which is comprised of a
21    fluctuating number of elders and has authority over all congregations.
22          19.    Upon information and belief, Defendant Watchtower published a series
23    of handbooks that were distributed to elders and kept secret from other Jehovah’s
24    Witnesses and the public. These handbooks provided instruction to elders regarding
25    day-to-day administration of the organization. It is also believed that it contained
26    instructions regarding how to respond to allegations of wrongdoing, including child
27    molestation, when to convene a judicial committee, and how to handle the procedure.
28    DefendantWatchtower reviews recommendations of prospective elders and directly
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 1    appoints overseers. Defendant Overseers are responsible for ensuring that the
 2    directives and policies from DefendantWatchtower and DefendantGoverning Body
 3    are being followed and implemented. It is DefendantGoverning Body that has final
 4    approval of these recommendations.
 5          20.   The     policies    on     child    molestation     promulgated      by
 6    DefendantWatchtower and DefendantGoverning Body through secret elder
 7    handbooks and confidential letters were not divulged to the members. Through this
 8    required secrecy in cases of child molestation and sex, Defendant Watchtower and
 9    Defendant Governing Body intentionally concealed the threat of child molestation
10    from its members. Consequently, Defendant Watchtower and Defendant Governing
11    Body shielded child molesters from criminal prosecutions and increased the risk of
12    molestation of minors.
13          21.   Defendant Othello North Spanish Congregation of Jehovah’s
14    Witnesses, located in Othello, Washington, is an unincorporated association and part
15    of the Jehovah’s Witnesses organization.
16          22.   Defendant Las Palmas Congregation of Jehovah’s Witnesses, located in
17    California, is an unincorporated association and part of the Jehovah’s Witnesses
18    organization.
19          23.   Ms. Lathrop reported that she had been sexually abused by Defendant
20    Beliz to elders Carlos Chicas and Milton Melendez of Defendant Las Palmas
21    Congregation of Jehovah’s Witnesses. Defendant Manuel Beliz was associated with
22    Defendant Othello North Spanish Congregation of Jehovah’s Witnesses and was or
23    is a resident of Washington state during this association. Defendant Beliz was
24    assigned and otherwise authorized to serve in his position by the joint efforts of
25    DefendantWatchtower and Defendant Governing Body. Upon information and
26    belief, Defendant Beliz knew that it was the policy and the practice of
27    DefendantWatchtower and Defendant Governing Body to cover up the instances of
28    childhood sexual abuse by its agents and to affirmatively shield its agents from
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 1    criminal prosecution and relied upon this policy and practice in engaging in sexually
 2    abusive conduct. Defendant Beliz had regular and frequent contact with children
 3    who attended the congregations, a circumstance of which Defendant Watchtower and
 4    Defendant Governing Body had notice.
 5          24.    Upon information and belief, Defendant Watchtower and Defendant
 6    Governing Body knew or should have known that Defendant Beliz committed acts
 7    of sexual abuse against Ms. Lathrop before she and her family reported it in 1996.
 8          25.    Defendant Refugio Valenzuela was or is associated with Defendant Las
 9    Palmas Congregation of Jehovah’s Witnesses and was or is a resident of California
10    during this association. Defendant Valenzuela was assigned and otherwise authorized
11    to serve in his position by the joint efforts of Defendant Watchtower and Defendant
12    Governing Body. Upon information and belief, Defendant Valenzuela knew that it
13    was the policy and the practice of Defendant Watchtower and Defendant Governing
14    Body to cover up the instances of childhood sexual abuse by its agents and to
15    affirmatively shield its agents from criminal prosecution and relied upon this policy
16    and practice in engaging in sexually abusive conduct. Defendant Valenzuela had
17    regular and frequent contact with children who attended the congregations, a
18    circumstance of which Defendant Watchtower and Defendant Governing Body had
19    notice.
20          26.    Upon     information     and      belief,   DefendantWatchtower       and
21    DefendantGoverning Body knew or should have known that Valenzuela committed
22    acts of sexual abuse against Ms. Lathrop.
23                             JURISDICTION AND VENUE
24          27.    This Court has diversity jurisdiction because the case is between
25    “citizens of different States” and the amount in controversy exceeds “$75,000,
26    exclusive of interests and costs.” 28 U.S.C. § 1332(a)(1).
27          28.    Venue lies in this District becausea substantial part of the events giving
28    rise to Plaintiff’s claims occurred in the Central District of California. 28 U.S.C.
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 1    § 1391(b)(2).
 2                               FACTUAL ALLEGATIONS
 3          29.    Erica Lathrop was involved with the Jehovah’s Witnesses organization
 4    for about twenty years. She was a “publisher” and pioneered around 1995.
 5          30.    Ms. Lathrop and her family attended services at various Kingdom Halls
 6    throughout her life. Between 1978 and 1989, she attended Defendant Othello North
 7    Spanish Congregation of Jehovah’s Witnesses located at 710 East Scootney Street,
 8    Othello, Washington 99344. Between 1989 and 1992, she attended a Kingdom Hall
 9    in West Sacramento, California, which have become townhouses beginning at 631
10    Welland Way, West Sacramento, California 95605. From 1993 until 1999, she
11    attended the Dos Rios Kingdom Hall at 2331 Northview Drive, Sacramento,
12    California 95843, which is now called the Natomas Congregation.
13          31.    From the age of four to eleven, Ms. Lathrop was sexually assaulted by
14    Defendant Beliz in Washington state. Defendant Beliz touched her below and above
15    the waist, over and under her clothes, with digital penetration of her vagina. This
16    abuse occurred on a weekly basis until Ms. Lathrop’s family moved to Sacramento,
17    California when she was eleven years old
18          32.    During the seven-year onslaught of abuse, Defendant Beliz would warn
19    Ms. Lathrop that she would be shunned from the organization of Defendant
20    Jehovah’s Witnesses if she reported the abuse.
21          33.    From the age of eleven to sixteen, Ms. Lathrop was sexually assaulted
22    by Defendant Valenzeula in California. Defendant Valenzuela touched her below and
23    above the waist, over and under her clothes, with digital penetration of her vagina.
24          34.    The abuse and negligence occurred in two different states and
25    congregations. The sexual abuse by Defendant Beliz and Defendant Valenzuela
26    proximately caused Ms. Lathrop damages, and the Church Defendants were
27    negligent because by their failure to protect her, their actions allowed childhood
28    sexual assault by Defendants Beliz and Valenzuela.
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 1                       Sexual Abuse by Defendant Beliz (1983– 1996)
 2          35.    In Washington state, her abuser was Defendant Beliz, and in 1996,
 3    Ms. Lathrop’s parents reported the sexual abuse to John White, an elder in the Othello
 4    North Spanish Congregation of Jehovah’s Witnesses.
 5          36.    Around the same time, Ms. Lathrop reported that she had been sexually
 6    abused by Defendant Beliz to elders Carlos Chicas and Milton Melendez of
 7    Defendant Las Palmas Congregation of Jehovah’s Witnesses. These reports led to an
 8    investigation of Defendant Beliz by the Church Defendants. Chicas told Ms. Lathrop
 9    to not say anything and that the congregation would take care of the matter. She was
10    also warned by Melendez that she would be shunned if she went to the police.
11    Nevertheless, she eventually did so, and Defendant Beliz was investigated.
12          37.    Although Defendant Beliz was disfellowshipped in October 1996—that
13    is, during which time he would not have been one of Jehovah’s Witnesses, he was
14    inexplicably reinstated in June 1997.
15          38.    In 1998, Defendant Beliz was convicted of sexual abuse of Ms. Lathrop
16    after a jury trial. He began serving an eleven-year term imposed on August 24, 1998.
17          39.    Upon information and belief, there were judicial hearings conducted
18    regarding her abuse.
19          40.    Upon information and belief, Adermira “Mimi” Smith was also abused
20    by Defendant Beliz in Washington state.
21          41.    John White made it clear that the Church Defendants knew Defendant
22    Beliz had problems but thought he became a better man.
23                  Sexual Abuse by Defendant Valenzuela (1990 – 1996)
24          42.    In California, her abuser was Refugio Valenzuela, and three elders were
25    involved in her case: Carlos Chicas, Jorge Macias, and Milton Melendez.
26          43.    In or around 1996, Ms. Lathrop reported her abuse to elders. They
27    shunned her and threatened to disfellowship her.
28          44.    Ms.     Lathrop’s    father,         Ruben   Garvaz,   was   an    elder
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 1     andWatchtowerremoved him for refusing to tell her to keep quiet and not go to the
 2     police.
 3           45.    Ms. Lathrop was raised as Jehovah’s Witness. She was trained by
 4     DefendantWatchtower and DefendantGoverning Body that she should obey, trust,
 5     and respect individuals appointed as elders.
 6           46.    Defendants Beliz and Valenzeula were both elders with substantial
 7     authority over Ms. Lathrop. They used their positions as elders to gain access to her
 8     and used that access to accomplish acts of childhood sexual assault.
 9           47.    DefendantWatchtower and DefendantGoverning Body failed to
10     adequately supervise their agents, Defendants Beliz and Valenzeula, along with other
11     individuals in positions of power, and created a safe haven for molesters, thereby
12     condoning child sexual abuse. As a result of their failure and negligence, Ms. Lathrop
13     was sexually abused and assaulted for twelve years, beginning when she was a
14     toddler.
15           48.    Despite DefendantJehovah’s Witnesses organization and its elders
16     alleging to be a safe haven for children, their Kingdom Halls arenot places where
17     children of any religion (or non-religion) were protected from sexual abuse by
18     predatory elders or members. Not only were children not safe from predators, but
19     Church Defendants actively promoted and protected the predators within the
20     congregation.
21           49.    To reiterate, her claims under California law are timely because there is
22     no “claim for damages . . . that has not been litigated to finality and that would
23     otherwise be barred as of January 1, 2020,” and so her “claims may be commenced
24     within three years of January 1, 2020.” See Cal. Code Civ. Proc. § 340.1(q) (emphasis
25     added).
26                                   CAUSES OF ACTION
27                           COUNT I: Childhood Sexual Assault
28           50.    Ms. Lathrop re-alleges and incorporates every allegation in this
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 1     Complaint.
 2              51.   California’s newly revised section 340.1 revives three types of “claim[s]
 3     for damages . . . that that has not been litigated to finality and that would otherwise
 4     be barred as of January 1, 2020”: (1) “[a]n action against any person for committing
 5     an act of childhood sexual assault”; (2) “[a]n action for liability against any person
 6     or entity who owed a duty of care to the plaintiff, if a wrongful or negligent act by
 7     that person or entity was a legal cause of the childhood sexual assault that resulted in
 8     the injury to the plaintiff”; and (3) “[a]n action for liability against any person or
 9     entity if an intentional act by that person or entity was a legal cause of the childhood
10     sexual assault that resulted in the injury to the plaintiff.” Cal. Code Civ. Proc. §§
11     340.1(a)(1)–(3) & (q).
12              52.   Ms. Lathrop was less than eighteen years old at the time of her abuse.
13              53.   Defendant Beliz and Defendant Valenzuela were adults in positions of
14     power and authority working for DefendantWatchtower and DefendantGoverning
15     Body.
16              54.   They both engaged in a pattern of intentional childhood sexual assault,
17     touching Ms. Lathrop below and above the waist, over and under her clothes, with
18     digital penetration.
19              55.   The Church Defendants had a special relationship to Ms. Lathrop, then
20     a minor child, to protect her from harm.
21              56.   The Church Defendants negligently breached their fiduciary duty to Ms.
22     Lathrop by failing to take reasonable steps to prevent Defendant Beliz and Defendant
23     Valenzuela from continuing to sexually assault Ms. Lathrop and by failing to warn
24     or protect her.
25              57.   By failing to report the suspected abuse of Ms. Lathrop, the Church
26     Defendants permitted the childhood sexual assault of Ms. Lathrop to continue to
27     occur.
28              58.   DefendantWatchtower and DefendantGoverning Body allowed its
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 1     members and elders to prey on children. It created an environment that allowed and
 2     emboldened elders to feel empowered enough to use their positions of authority to
 3     sexually abuse a child.
 4              59.   As a direct result of this unlawful conduct, Ms. Lathrop has suffered
 5     severe emotional distress, humiliation, pain and suffering, and loss of enjoyment of
 6     life, among other things.
 7              60.   Ms. Lathrop uses medical marijuana to cope with the anxiety and
 8     depression stemming from her past childhood sexual abuse. She previously took
 9     Lexapro, Prozac, and Zoloft as a result of the emotional harm she suffered.
10              61.   As a direct result of this unlawful conduct, Ms. Lathrop has suffered the
11     destruction of her spiritual life as well as her trust in the community and society in
12     general, creating pecuniary losses, such as lost earning capacity.
13              62.   Ms. Lathrop is entitled to all remedies available for violations of the
14     California state law.
15                             COUNT II: Common-Law Negligence
16              63.   Ms. Lathrop re-alleges and incorporates every allegation in this
17     Complaint.
18              64.   The Church Defendants allowed its members and elders to prey on
19     children. It created an environment that allowed and emboldened elders to feel
20     empowered enough to use their positions of authority to abuse a child. They tried to
21     cover up their actions by silencing Ms. Lathrop as a child when she reported the
22     abuse.
23              65.   The Church Defendants assumed a duty to protect Ms. Lathrop from
24     sexual predators within the Church Defendants’ organization. The Church
25     Defendants further knew or should have known that Ms. Lathrop was at risk of
26     foreseeable harm by their agents, Defendants Beliz and Defendants Valenzuela, but
27     failed to act to protect her from said harm. The Church Defendants breached their
28     duty to Ms. Lathrop, thereby causing great harm to her.
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 1           66.     The Church Defendants knew or should have known of their agents’
 2     propensities to use their positions as leaders in the local and national congregations
 3     to engage in and/or aid and abet acts of sexual abuse. The Church Defendants failed
 4     to adequately investigate, evaluate, and otherwise research the background of their
 5     agents, prior to their hiring appointing him to leadership positions.
 6           67.     Defendants Beliz and Defendants Valenzuela were retained by the
 7     Church Defendants and acted on behalf of and under the supervision of the Church
 8     Defendants.
 9           68.     The Church Defendants failed to adequately investigate, evaluate, and
10     otherwise monitor the abusers’ conduct. They failed to notify the authorities of the
11     illegal sexual conduct with a child.
12           69.     By holding Defendants Beliz and Defendants Valenzuela as leaders in
13     the community and by allowing them to undertake the religious, spiritual and
14     emotional counseling of Ms. Lathrop, the Church Defendants placed themselves in a
15     position of trust and confidence with her, and this imposed a duty to act in Ms.
16     Lathrop’s best interest.
17           70.     Because of this special relationship, the Church Defendants gained the
18     trust of Ms. Lathrop and her confidence that they would protect her from harm.
19           71.     As a result of the Church Defendants’ conduct, Ms. Lathrop has suffered
20     and continues to suffer harm.
21           72.     Ms. Lathrop is entitled to all remedies available for violations of the
22     California state law.
23            COUNT III: Negligent Appointment, Retention, and Supervision
24           73.     Ms. Lathrop re-alleges and incorporates every allegation in this
25     Complaint.
26           74.     The Church Defendants retained, appointed, promoted, and protected
27     Manuel Beliz and Refugio Valenzuela.
28           75.     The Church Defendants failed to protect Ms. Lathrop. They penalized
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 1     her for coming forward furthering the culture of secrecy.
 2           76.     The Church Defendants failed to supervise their representatives and
 3     train them on proper behavior when dealing with children and reported child abuse.
 4           77.     As a result of the Church Defendants’ conduct, Ms. Lathrop has suffered
 5     and continues to suffer harm.
 6           78.     Ms. Lathrop is entitled to all remedies available for violations of the
 7     California state law.
 8                     COUNT IV: Gross Negligence/Willful Misconduct
 9           79.     Ms. Lathrop re-alleges and incorporates every allegation in this
10     Complaint.
11           80.     The conduct exhibited by the Church Defendants in failing to properly
12     supervise, report and prevent serious abuses by its representatives is willful
13     misconduct.
14           81.     The Church Defendants were made aware of the conduct of its
15     employees and proceeded to silence Ms. Lathrop, a child at the time.
16           82.     The behavior of the Church Defendants demonstrates a conscious
17     indifference to the safety and welfare of Ms. Lathrop.
18           83.     The Church Defendants knew or should have known of the dangerous
19     propensities of their agentsyet failed to act to protect the welfare of children in their
20     care and custody, thereby allowing Ms. Lathrop to be sexually abused.
21           84.     The sexual abuse could have been prevented but for the Church
22     Defendants’ willful misconduct and gross negligence in failing to implement
23     safeguards to protect Ms. Lathrop in violation of the Church Defendants’ duty to
24     protect the children entrusted in their care.
25           85.     As a result of the Church Defendants’ conduct, Ms. Lathrop has suffered
26     and continues to suffer harm.
27           86.     Ms. Lathrop is entitled to all remedies available for violations of the
28     California state law.
                         PLAINTIFF ERICA LATHROP’S COMPLAINT
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 1        COUNT V: Negligence Per Se and Common-Law Negligence – Failure to
 2                               Report Suspected Child Abuse
 3           87.    Ms. Lathrop re-alleges and incorporates every allegation in this
 4     Complaint.
 5           88.    At all times relevant here, California had a mandatory reporting
 6     statute—Child Abuse and Neglect Reporting Act (“CANRA”) pursuant to Penal
 7     Codes 11164 through 11174.3—requiring the report of suspected child abuse.
 8           89.    The Church Defendants failed to report to lawenforcement the abusive
 9     and illegal acts of their agents, Defendant Beliz and Defendant Valenzuela, both prior
10     to and after the abuse inflicted on Ms. Lathrop. By failing to report the actions, they
11     violated California mandatory reporting laws intended to safeguard the welfare of
12     abused children. The violation of mandatory reporting requirements constitutes
13     negligence per se.
14           90.    The Church Defendants’ failure to report also constitutes common-law
15     negligence. The Church Defendants asserted their authority over Ms. Lathrop and
16     their abusers, Defendant Beliz and Defendant Valenzuela, creating a special
17     relationship of trust, confidence, and power of her. In the context of this special
18     relationship and the unequal relationship among the parties, the Church Defendants
19     assumed a duty to handle all reports of child abuse. By failing to do so, the
20     ChurchDefendants acted with conscious disregard for the safety and welfare of Ms.
21     Lathrop and violated their duty to her detriment.
22           91.    As a result of the Church Defendants’ conduct, Ms. Lathrop has suffered
23     and continues to suffer harm.
24           92.    Ms. Lathrop is entitled to all remedies available for violations of the
25     California state law.
26                                       JURY DEMAND
27           93.    Plaintiff Erica Lathrop requests a jury trial.
28                                      PRAYER FOR RELIEF
                        PLAINTIFF ERICA LATHROP’S COMPLAINT
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 1           Plaintiff Erica Lathrop requests the following relief for the violations set forth
 2     in this Complaint:
 3           a.      Enter a declaratory judgment stating that Defendants’ practices,
 4                   policies, and procedures subjected Plaintiff to childhood sexual abuse in
 5                   violation of the law.
 6           b.      Enjoin Defendants from implementing or enforcing any policy,
 7                   procedure or practice that denies child victims of sexual abuse any of
 8                   the protections afforded them under the law, including but not limited
 9                   to mandatory reporting and disciplinary action of the abuser:
10                  i.   to develop, implement, promulgate, and comply with a policy
11                       providing for the training of each and every employee in the
12                       mandatory reporting requirements as it relates to actual or suspected
13                       child abuse;
14                 ii.   To develop, implement, promulgate, and comply with a policy
15                       providing for reporting and investigation of complaints regarding
16                       actual or suspected child abuse; and
17                iii.   To develop, implement, promulgate, and comply with a policy
18                       providing for disciplinary measures to be imposed upon any person
19                       found responsible for child abuse and any individual who failed to
20                       act reasonably once alerted to actual or suspected child abuse.
21           c.      Award Plaintiff:
22                  i.   Compensatory damages in excess of $75,000 for past, present, and
23                       future medical costs and healthcare-related expenses;
24                 ii.   Compensatory damages in excess of $75,000 for past, present, and
25                       future emotional distress;
26                iii.   Compensatory damages in excess of $75,000 for past, present, and
27                       future loss of enjoyment of life;
28
                         PLAINTIFF ERICA LATHROP’S COMPLAINT
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 1               iv.   Compensatory damages in excess of $75,000 for pecuniary losses,
 2                     including lostearning capacity;
 3               v.    Punitive and/or exemplary damages;
 4               vi.   Litigation costs and expenses, including reasonable attorney’s fees;
 5              vii.   Interest on all amounts at the highest rates and from the earliest dates
 6                     allowed by law; and
 7             viii.   Any other relief that the Court deems just and proper.
 8     These amounts should be determined at trial by a jury.
 9
10     Dated: September 3, 2021                        Respectfully submitted,
11                                            /s/ Eric Baum
                                              Eric Baum (seeking admission pro hac vice)
12                                            Adriana Alcalde (seeking admission pro hac
                                              vice)
13                                            EISENBERG & BAUM, LLP
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14                                            New York, NY 10003
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15                                            Fax: (212) 353-1708
                                              Attorneys for Plaintiff Erica Lathrop
16
       Dated: September 3, 2021                 Respectfully submitted,
17
18                                              / s / - Anahita Sedaghatfar, Esq.
19                                     By:    _____________________________
                                              ANAHITA SEDAGHATFAR
20                                            Attorneys for Plaintiff ERICA LATHROP
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                       PLAINTIFF ERICA LATHROP’S COMPLAINT
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